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1    RESHMA KAMATH
     Mailing Address:
2
     700 El Camino Real, Suite 120, #1084
3    Menlo Park, California 94025, United States
     Ph.: 650 257 0719, E.: reshmakamath2021@gmail.com
4
     Plaintiff, In Propria Persona
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11                   UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
12
                        SAN FRANCISCO DIVISION
13
     RESHMA KAMATH,                           Case No.: 3:23-cv-03533-CRB
14

15              Plaintiff,
16         v.                                 EXHIBIT A, EXHIBIT B
17
     COINBASE, INC.; WELLS FARGO              [ NO MOTION TO RE-OPEN WILL BE
18   BANK, N.A.; AND DOES 1-10,               FILED, THE COURT MUST SUA
                                              SPONTE RE-OPEN AFTER
19   INCLUSIVE,                               DEFENDANT WELLS FARGO IS
                                              SERVED ALONG WITH SEVRICE
20              Defendants.                   UPON THE THIEF-DEFENDANTS
                                              WHO STOLE FROM PLAINTIFF
21                                            RESHMA KAMATH. IF THE CASE
                                              GETS DISMISSED BASED ON
22                                            ABUSE, THEN PLAINTIFF KNOWS
                                              WHAT TO DO NEXT ]
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                   EXHIBIT A
Case 3:23-cv-03533-CRB Document 35 Filed 03/29/24 Page 3 of 19
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                    EXHIBIT B
        Case 3:23-cv-03533-CRB Document 35 Filed 03/29/24 Page 16 of 19




      RESHMA KAMATH
      700 El Camino Real, Suite 120, #1084
      Menlo Park, CA 94025
 1    Telephone:      650 257 0719
      Email:          reshmakamath2021@gmail.com
 2    Plaintiff, In Propria Persona
 3
      BRYAN CAVE LEIGHTON PAISNER LLP
 4    Alexandra C. Whitworth (California Bar No. 303046)
      Three Embarcadero Center, 7th Floor
 5    San Francisco, CA 94111-4070
      Telephone:     (415) 675-3400
 6    Facsimile:     (415) 675-3434
 7    Email:         alex.whitworth@bclplaw.com
      Attorneys for Defendant
 8    COINBASE, INC.

 9
                                         UNITED STATES DISTRICT COURT
10
                                        NORTHERN DISTRICT OF CALIFORNIA
11                                          SAN FRANCISCO DIVISION

12

13    RESHMA KAMATH,                                   Case No. 3:23-cv-3533

14                         Plaintiff,
                                                       PARTIES’ INTERNAL AGREEMENT
15                                                     ONLY [NOT TO BE FILED WITH
               v.                                      COURT]
16
      COINBASE, INC.; WELLS FARGO BANK,
17    N.A.; AND DOES 1-10, INCLUSIVE,
                                                       Complaint Filed:        July 16, 2023
18                         Defendants.                 Trial Date:             Not Assigned

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     USA.609624330.1/4GF
28                                         INTERNAL AGREEMENT ONLY
        Case 3:23-cv-03533-CRB Document 35 Filed 03/29/24 Page 17 of 19




             This Stipulation is entered into by and between Plaintiff Reshma Kamath and Defendant

     Coinbase, Inc. (“Coinbase”). Plaintiff and Defendant are collectively referred to as the “Parties.”
 1
             WHEREAS, on July 16, 2023, Plaintiff Reshma Kamath filed her Complaint in this action;
 2
             WHEREAS, Defendant Coinbase contends that Plaintiff has previously accepted Coinbase’s
 3
     User Agreement, which is a contract that contains a mandatory arbitration clause;
 4
             WHEREAS, Defendant Coinbase waived service of process of complaint, summons, and
 5
     case-initiating documents upon plaintiff’s Service of form on November 2, 2023;
 6
             WHEREAS, the Parties have met and conferred and agreed on a stipulation that would avoid
 7
     further litigation and take this matter to arbitration;
 8
             NOW, THEREFORE, the Parties hereby agree and stipulate to the following:
 9
             1.       Plaintiff Reshma Kamath has offered to file a Notice of Voluntary Dismissal of
10
     Defendant Coinbase only, for the parties to litigate this matter in arbitration and/or attempt to resolve
11
     the matter out-of-court, only if Defendant Coinbase provides a starting counter-offer to Plaintiff
12
     Reshma Kamath prior to Plaintiff Reshma Kamath filing such Notice
13
             2.       On or before 5 p.m. PT on December 21, 2023, Plaintiff Reshma Kamath shall file a
14
     notice of voluntary dismissal, dismissing Coinbase from this Action, only if Defendant Coinbase
15
     makes the arbitration fee payment on or before December 21, 2023, and responds to the Plaintiff’s
16
     Arbitration Petition within five days of service of the Demand for Arbitration;
17
             3.       Within 10-days of Plaintiff Reshma Kamath’s filing the Notice of Voluntary
18
     Dismissal of Defendant Coinbase, Coinbase shall produce to Plaintiff Reshma Kamath the following
19
     documents, communications, and telephone calls, to the extent such documents and communications
20
     are in Coinbase’s possession, and can be reasonably located. Unless otherwise specified, the relevant
21
     dates of the documents and communications to be produced are between March 2, 2022 and the
22
     present:
23
                      a. Communications in and between Plaintiff Reshma Kamath and Defendant
24
                           Coinbase relating to the transfers out of Plaintiff Reshma Kamath’s Coinbase
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                           account on March 2, 2022, March 3, 2022, and any further communications
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28                                          INTERNAL USE ONLY
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                           pertaining to Plaintiff relating to any transactions occurring on those two dates;

                      b. Transaction records relating to Plaintiff’s Coinbase account between June 9, 2017
 1
                           (the date Plaintiff opened her Coinbase account) and the present;
 2
                      c. The operative Coinbase User Agreement in effect on March 2, 2022 and March
 3
                           3, 2022; as well as the original Agreement when Plaintiff signed up;
 4
                      d. The three-day policy terms of transfer waiting that appeared on Coinbase on
 5
                           March 2, 2022 and March 3, 2022;
 6
                      e. A pseudo account created in Russian under some other individual’s name using
 7
                           Plaintiff’s e-mail address.
 8
             Based upon the above, the Parties agree that this document is not filed with the Court; and
 9
             that the matter be arbitrated. This agreement and the arbitration proceedings shall remain
10
             confidential.
11
      DATED: December 15, 2023                           BRYAN CAVE LEIGHTON PAISNER LLP
12

13
                                                         By:   /s/ Alexandra C. Whitworth
14                                                             Alexandra C. Whitworth
                                                         Attorneys for Defendant Coinbase, Inc.
15
     DATED: December 18, 2023                            RESHMA KAMATH
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                                                          Plaintiff, In propria persona
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22                                                             /S/ Reshma Kamath
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